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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


WENDY DAVIS, DAVID GINS, and       §
TIMOTHY HOLLOWAY,                  §
                                   §
           Plaintiffs,             §
                                   §
v.                                 §                                    1:21-CV-565-RP
                                   §
ELIAZAR CISNEROS, RANDI CEH, STEVE §
CEH, JOEYLYNN MESAROS, ROBERT      §
MESAROS, and DOLORES PARK,         §
                                   §
           Defendants.             §

                                               ORDER

       This case is currently set for trial beginning on September 9, 2024. (Dkt. 405). At the final

pretrial conference on August 5, 2024, the Court advised the parties that they could put forth a

reasonable number of evidentiary disputes for the Court’s determination prior to trial. On August

23, 2024, Plaintiffs filed motions in limine, requesting the Court to make six evidentiary findings on

the parties’ proposed exhibits. (Dkt. 489). Defendants Dolores Park, Randi Ceh, Steve Ceh, Joeylynn

Mesaros, and Robert Mesaros filed responses in opposition. (Dkts. 499, 501, 502). Plaintiffs filed a

reply. (Dkt. 511). Having reviewed the parties’ motions and responses, the supporting documents,

and the relevant law, the Court orders as follows.

                           I. PLAINTIFFS’ MOTIONS IN LIMINE

   Request Number                     Ruling                        Modifications, if any

            1               Granted
            2               Carried                      The Court will address the admissibility of
                                                         Plaintiffs’ Exhibit PTX-060 at trial.
            3               Granted
            4               Granted




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        5               Granted in part and           The articles referenced in this motion are
                        denied in part                excluded. However, Defendants may
                                                      question Plaintiffs Davis and Gins on the
                                                      topics covered by the articles. Questioning
                                                      on these topics is subject to objections at
                                                      trial.
        6               Granted                       The social media posts referenced in this
                                                      motion are excluded. However, Defendants
                                                      may question Plaintiff Davis on her
                                                      involvement with the Deeds Action Fund.


                                     II. CONCLUSION

    Accordingly, IT IS ORDERED that Plaintiffs’ motions in limine, (Dkt. 489), are

GRANTED IN PART AND DENIED IN PART.

    These rulings are subject to the re-urging of objections by the parties during trial.

    SIGNED on September 6, 2024.


                                                    ________________________________
                                                    ROBERT PITMAN
                                                    UNITED STATES DISTRICT JUDGE




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